               Case 2:11-cr-00354-TLN Document 27 Filed 10/05/11 Page 1 of 3


1    Olaf W. Hedberg, SBN #151082
     Olaf W. Hedberg, Attorney at Law
2    901 H St., Suite 673
     Sacramento, CA 95814
3    (916) 447-1192
     Attorney for Defendant
4
                             IN THE UNITED STATES DISTRICT COURT
5                          FOR THE EASTERN DISTRICT OF CALIFORNIA

6

7
                                                    )
8    UNITED STATES OF AMERICA                            No. 11-CR-354 LKK
                                                    )
                                                    )
9                   Plaintiff,                           STIPULATION AND ORDER
                                                    )
            vs.
                                                    )
10                                                       Date: October 12, 2011
                                                    )
     Evaristo Arreola-Ventura                            Time: 9:15 am
                                                    )
11   Oscar Gomez Garibaldo                               Judge: Hon. Lawrence K. Karlton
                                                    )
                                                    )
12                  Defendant.

13
            IT IS HEREBY STIPULATED by and between the parties hereto through their
14
     respective counsel, Todd Leras, Assistant Untied States Attorney, attorney for Plaintiff, Olaf
15
     Hedberg, attorney for Evaristo Arreola-Ventura, and Ben Galloway, attorney for Oscar Gomez
16
     Garibaldo that the status conference now scheduled for October 12, 2011 at 9:15 am be vacated
17
     and a new date of November 8, 2011 at 9:15 am be set for further status conference. There is an
18
     ongoing inquiry into technical problems with some of the discovery and there will be discovery
19
     forthcoming. Further, Defense counsel is continuing to investigate this case.
20
            It is further stipulated and agreed between the parties that the period beginning October
21

22                                              Page 1 of 3
               Case 2:11-cr-00354-TLN Document 27 Filed 10/05/11 Page 2 of 3


1    12, 2011 and ending November 8, 2011 , should be excluded in computing the time within which

2    the trial of the above criminal prosecution must commence for the purpose of the Speedy Trial

3    Act for defense preparation. Counsel for the parties agree that this is an appropriate exclusion of

4    time within the meaning of Title 18, United States Code 3161(h)(7)(B)(iv) (continuity of

5    counsel/reasonable time for effective preparation, specifically the continuance is requested to

6    allow counsel time to review discovery and conduct investigation) and Local Code T4, and that

7    the ends of justice to be served by granting the continuance outweigh the best interest of the

8    public and the defendant to a speedy trial.

9

10                                                          Respectfully submitted,
                                                            Dated October 3, 2011
11                                                          By /s/ Olaf Hedberg
                                                            Olaf W. Hedberg, Attorney at Law
12                                                          Attorney for Evaristo Arreola-Ventura

13                                                          Respectfully submitted,
                                                            Dated October 3, 2011
14                                                          By /s/ Benjamin Galloway
                                                            Benjamin Galloway, Attorney at Law
15                                                          Attorney for Oscar Gomez Garibaldo

16

17                                                          Dated this October 3, 2011
                                                            Benjamin B. Wagner
18                                                          United States Attorney
                                                            /s/ Olaf Hedberg for Todd Leras
19                                                          Todd Leras
                                                            Assistant U.S. Attorney
20

21

22                                                 Page 2 of 3
               Case 2:11-cr-00354-TLN Document 27 Filed 10/05/11 Page 3 of 3


1

2

3

4                                                  ORDER

5
     UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is ordered that the status
6
     conference previously set for October 12, 2011 be continued to November 8, 2011 at 9:15 a.m.
7
     Based on the representations of counsel and good cause appearing therefrom, the Court hereby
8
     finds that the ends of justice to be served by granting a continuance outweigh the best interests of
9
     the public and the defendant in a speedy trial. It is ordered that time from October 12, 2011 , to
10
     and including, the November 8, 2011 , status conference shall be excluded from computation of
11
     time within which the trial of this matter must be commenced under the Speedy Trial Act
12
     pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T-4.
13

14

15   DATED: October 4, 2011

16

17

18

19

20

21

22                                               Page 3 of 3
